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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

---------------------------------x
-
MELANIE     HOEG, ANGELA DAVIS,          :      Civil Action No: 1:23-cv-1951
MELINDA GARCIA, and 1,025 OTHER          :
INDIVIDUALS,                             :      Hon. Harry D. Leinenweber
                                         :
                           Petitioners,  :
                                         :
              - against -                :
                                         :
SAMSUNG ELECTRONICS AMERICA, :
INC. and SAMSUNG ELECTRONICS CO., :
LTD. (d/b/a Samsung Electronics America, :
Inc.),                                   :
                                         :
                           Respondents.
                                         :
---------------------------------x
-

         RESPONDENTS’ REPLY IN FURTHER SUPPORT OF THEIR
       MOTION TO DISMISS THE PETITION TO COMPEL ARBITRATION


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                                  PRELIMINARY STATEMENT1

           Of the 1,028 individuals on whose behalf Petitioners’ Counsel putatively filed this action

in this Court a mere five months ago, it is now beyond dispute that more than half of them never

had any legitimate business before this Court:

       •    221 of them (at least) were already represented by other counsel who had brought the

            very same claim in this same Court. Their claims have now been belatedly withdrawn.

       •    149 of the remaining 807 were unwilling to provide Petitioners’ Counsel with even an

            extremely rudimentary, boilerplate declaration in support of their putative standing to

            bring a claim.

       •    194 of the 658 Petitioners who did provide such declarations do not live in this District

            and there is no venue for their claim here.2

           That leaves just 464 of 1,028 Petitioners. A batting average of .451 is impressive in

professional baseball, but Federal Rule of Civil Procedure 11(b) imposes a far more demanding

standard. That Rule provides that “[b]y presenting to the court a pleading,” an attorney “certifies

that to the best of [their] knowledge, information, and belief,” formed after “reasonable inquiry,”

that the pleading “is not being presented for any improper purpose” and that its “factual contentions

have evidentiary support.” Id. It is now evident that no such “reasonable inquiry” was ever made

here: this Petition was simply part of a scheme to extort a windfall settlement based on the specter

of a mass of claimants and millions of dollars in associated arbitral fees. Has this Court ever


   1
       “Opposition” or “MTD Opp.” refers to Petitioners’ Opposition (ECF No. 41). “MTCA
Reply” refers to Petitioners’ Reply In Support of Motion To Compel Arbitration (ECF No. 42).
Capitalized terms have the meanings ascribed to them in prior briefing.
   2
        See Ex. 32 hereto (annotated version of Pet. Ex. A summarizing this analysis). While
Petitioners’ Counsel purport to exhibit “a compendium of 672 declarations” (Klinger Decl. (ECF
No. 43) ¶ 5), the actual number is 658 when duplicates and three declarations filed by individuals
who are not Petitioners are excluded. See pp. 7-8 infra.
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previously been presented with a pleading filed on behalf of hundreds of named individuals who

all but disappeared after that filing was made in their names? That is extraordinarily improper

conduct that is in clear violation of the Rules.

        Those deficiencies are not simple procedural missteps. Samsung has a longstanding

consumer arbitration program through which it has arbitrated many genuine disputes. Petitioners’

Counsel’s threat to file tens of thousands of frivolous arbitration demands on behalf of

individuals—many of whom, as Samsung has long suspected and which has now been made clear,

they did not even represent—was an egregious abuse of that process. When the parties agreed to

mediate, the AAA closed the arbitrations that Petitioners had commenced, and advised Petitioners

that they could re-file their demands if mediation was unsuccessful. Petitioners elected not to do

that. There was thus no refusal by SEA to arbitrate, and accordingly no judicial relief is necessary

or authorized here.

        Even as to the minority of Petitioners who (i) have not withdrawn from the action,

(ii) provided a declaration in support of their putative claims, and (iii) reside in this District, there

is no basis for any award of relief. The threadbare declarations provided by Petitioners’ Counsel

are unreliable on their face and do not establish the existence of an arbitration agreement between

any of those Petitioners and Samsung. Even if those Petitioners could establish such agreements

exist, the collective action waiver set forth in that agreement precludes them from asserting any

claims en masse before this court. And even if those obstacles could be overcome—which they

cannot—for the reasons explained in Samsung’s opposition to Petitioners’ motion to compel

arbitration, there was no refusal by SEA to arbitrate and there is otherwise no basis here for judicial

intervention into the AAA’s administration of arbitrations in accordance with its Rules.

        In short, this Petition should be dismissed in its entirety, and with prejudice. Samsung




                                                   2
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respectfully defers to this Court’s discretion as to whether the conduct of Petitioners’ Counsel here

warrants investigation and/or sanctions, but there should be no doubt that that the conduct violates

Federal Rule of Civil Procedure 11. This Court has inherent authority under Rule 11(c)(3) as well

as statutory authority under 28 U.S.C. § 1927 to address that conduct.

                                           ARGUMENT

1.       Petitioners’ Counsel Now Admit That They Do Not Represent
         Hundreds Of Named Petitioners And That They Have No Claim Against SEC

         Petitioners’ Counsel now acknowledge that they filed this Petition on behalf of at least 240

Petitioners who were also petitioners in the pending Wallrich action represented by other counsel

(MTD Opp. at 11.) To say it explicitly: counsel were asking this Court to enter a judicial order

granting relief to hundreds of Petitioners—whom they did not represent—that would have

required Samsung to pay millions of dollars in arbitration fees. This was not a mere administrative

hiccup: it was an egregious misuse of this Court’s processes. Petitioners’ Counsel now purportedly

“withdraw” 221 of those Petitioners’ claims (MTCA Reply at 11), but have taken no other action

to effectuate that withdrawal. Regardless, those Petitioners cannot be awarded any relief here.3

         Petitioners’ Counsel offer no explanation for why it took four months for them to address

the issue of Petitioners’ representation by other counsel. Samsung identified this issue on March

30, 2023, just two days after the Petition was filed. (See Wallrich, ECF No. 40.) A week later, on

April 6, 2023, Petitioners’ Counsel represented to the Wallrich court that they and counsel for the

Wallrich petitioners (Labaton) had “established a protocol to address the dual-representation issue”



     3
        Petitioners further concede that their Petition sought to compel arbitration against SEC
even though they have never demanded arbitration against SEC. (MTCA Reply at 11.) Petitioners
now say they will withdraw their MTCA against SEC “without prejudice to refiling the same” (id.
at 11), but there was never any basis for any award of relief against SEC where no demand for
arbitration had been made. The Petition should have been withdrawn in its entirety against SEC,
and this Court should dismiss the Petition with respect to SEC.


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and that “[o]nce it is determined which law firm(s) will be representing which overlapping

Petitioner, the Court and Respondents will be promptly advised.” (Wallrich, ECF No. 41, at 2.)

Notwithstanding that representation, one month later, on May 4, 2023, Petitioners’ Counsel moved

to compel arbitration on behalf of all 1,028 Petitioners without withdrawing any Petitioners’ claim.

       Even now, Petitioners’ Counsel’s putative resolution of this issue remains deficient. They

previously represented to the Wallrich court that they had met with Labaton and agreed “that no

single Petitioner will be represented by different law firms in separate arbitration or litigation.”

(Id.) But at least six Petitioners represented here by Petitioners’ Counsel apparently remain as

petitioners in Wallrich without any explanation.4 And notwithstanding Petitioners’ Counsel’s

assertion (MTD Opp. at 11) that they “will continue to represent the 24 overlapping Petitioners”

identified in Exhibit V to the declaration of Mr. Klinger, Labaton has not withdrawn the petition

filed in Wallrich as to those individuals. This is improper, duplicative, and vexatious litigation

and the Court has authority to impose sanctions for such practices. (See MTD at 10 n.8.)

       Samsung’s analysis indicates that many of the remaining 807 Petitioners continue to be

represented by one or more other law firms (including Labaton) threatening or pursuing the same

claims in arbitration against Samsung.5 On August 14, 2023, another law firm (Kind Law) advised

the AAA that some of the claimants that they are representing in AAA arbitrations might also be

represented by Labaton and/or Petitioners’ Counsel, and that “we have previously reached out to

Labaton Sucharow and Milberg Coleman to discuss.” (Ex. 33 at 3.) One of those claimants is


   4
        Faith Gordon Bridges, Andrew Fey, Erica McDonald, Wayne Majors, Carmen Monique,
and Ivelisse Sepulveda. Samsung’s prior submission identifying overlapping petitioners
(Wallrich, ECF No. 40, Ex. 3) did not list these individuals because of doubt as to whether these
were the same individuals listed as Petitioners here, but it is likely that some if not all are, and
Petitioners’ Counsel do not appear to have performed any investigation to resolve the issue.
   5
        Samsung advised Petitioners’ Counsel of this issue months ago, and Samsung’s prior
papers in this action also noted it. (MTCA Opp. at 20-21.)


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Wayne Majors, a Petitioner in this action as well as in the Wallrich action. Kind Law has asserted

to the AAA that Mr. Majors “is not aware of being represented by any other firm and would like

us to continue our representation.” (Id. at 2.) Yet Petitioners’ Counsel submitted a declaration

from Mr. Majors with their most recent filing—made on July 28, 2023, just over two weeks before

Kind Law’s representation to the AAA. (Klinger Decl., Ex. X at PDF p. 665.)

         Petitioners’ Counsel’s repeated insistence that the burden of resolving this issue should be

imposed on Samsung is absurd. As the Civil Justice Association of California (“CJAC”) noted in

a letter it recently sent on behalf of its members to the State Bar of California, where plaintiffs’

counsel “essentially outsources to defendants the vetting that the mass arbitration filers were

ethically obligated to conduct before bringing the claims,” and then “just voluntarily crosses the

bogus claimants off their list of clients once the defendant identifies them,” that “turns the ethical

rules on their head.” (Ex. 34 at 3.) CJAC’s letter highlighted the “numerous ways in which

lawyers filing or threatening to file mass arbitrations in the names of people recruited online have

not properly vetted their putative clients’ claims,” (id. at 2),6 and it encouraged the State Bar to

“investigate” the “serious alleged ethical violations in the mass-arbitration context.” (Id. at 4.)

The failure of Petitioners’ Counsel here to make a reasonable inquiry raises the same questions.

2.       The Petition Must Be Dismissed As To All Petitioners Who
         Have Failed To Establish A Basis For Venue In This District

         Neither of the Petition’s 28 U.S.C. § 1391 venue allegations—i.e., that venue was proper

“because many of the Petitioners live in this District,” and “the arbitrations were venued to take

place in this District”—provides a sufficient basis for venue as to each Petitioner. It is evident



     6
         See id. at 2 (“[W]hen some lawyers treat their clients as fungible entries on a spreadsheet
designed to maximize settlement payments and concomitant attorneys’ fees—rather than treating
their clients as unique individuals with claims to be resolved—ethical abuses predictably can and
do occur.”).


                                                  5
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from Petitioners’ own submission that a great many Petitioners do not live in this District.

Moreover, no arbitration was ever venued anywhere. (MTD at 11-12.) Petitioners complain that

this contention “is virtually impossible to address, since Samsung does not identify which of the

Petitioners it contends live outside the District.” (MTD Opp. at 8.) But Exhibit A to their own

Petition purports to identify where each Petitioner resides. (See MTD at 11 & n.9.)7

       Petitioners further assert that those who reside outside this District may prosecute their

claims here “under the doctrine of pendant [sic] venue.” (MTD Opp. at 9.) But courts that have

applied a theory of “pendent venue” have done so only where venue lies as to some but not all of

a single plaintiff’s claims, not to extend venue from one plaintiff’s claims to another’s.8 In each

case that Petitioners cite, the court had already held that there was venue over at least one claim

between the same plaintiff and defendant.9 But for the Petitioners who reside outside this District,

this Court is not the correct venue for any of their claims, and so no theory of “pendent venue”


   7
         Petitioners also assert that “[n]o Petitioner is listed as residing in Indiana” (MTD Opp. at
8, n. 5), but Petitioner Lisa Alvarado is identified as located in the city of “Hobart.” There is no
city in Illinois named Hobart, but there is such a city in Indiana.
   8
        “The doctrine of pendent venue applies to claims, not parties.” Alltech, Inc. v. Carter, No.
5:08-cv-00325-KKC, 2010 WL 988987, at *3 (E.D. Ky. Mar. 15, 2010) (emphasis added)
(granting motion to transfer where venue was improper for one defendant and the court rejected
application of pendent venue); accord PNC Bank, N.A. v. OHCMC-Oswego, LLC, No. 11 C 301,
2011 WL 13257112, at *3 (N.D. Ill. June 20, 2011) (holding venue was improper as to one
defendant who had a contrary forum selection clause and declining to find pendent venue);
Gamboa v. USA Cycling, Inc., No. 2:12-CV-10051-ODW, 2013 WL 1700951, at *4 (C.D. Cal.
Apr. 18, 2013) (“No court has ever recognized ‘pendent party’ venue. This Court declines to be
the first to do so. Notably, validation of such a theory would undermine the limitations of 28
U.S.C. § 1391 that exist to protect defendants from litigating in an inconvenient forum.”); De La
Fuente v. I.C.C., 451 F. Supp. 867, 870-71 (N.D. Ill. 1978) (declining to exercise pendent venue
over the claims against two defendants simply because they were factually related to claims against
other defendants which were properly brought in that forum).
   9
       See Photogen, Inc. v. Wolf, No. 00 C 5841, 2001 WL 477226, at *4 (N.D. Ill. May 7, 2001)
(hearing fiduciary duty claim where venue was proper for other claims between the plaintiff
company and the defendant, its former employee); see also Serpico v. Laborers’ Int’l Union of N.
Am., No. 95 C 0614, 1995 WL 479569, at *5 (N.D. Ill. Aug. 4, 1995); VMS/PCA Ltd. P’ship v.
PCA Partners Ltd. P’ship, 727 F. Supp. 1167, 1174 (N.D. Ill. 1989).


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will cure their failure to plead a factual basis for venue here.

         Petitioners’ new argument that venue is proper under 28 U.S.C. § 1391 because Samsung

is subject to personal jurisdiction in this District (MTD Opp. at 9) is not pleaded as a basis for

venue in the Petition. In any event, that contention would not cure the lack of venue as to those

Petitioners who reside outside the District because SEA does not “reside” in the District with

respect to those Petitioners’ claims. Under 28 U.S.C. § 1391(d), a “corporation shall be deemed

to reside in any district in [a multidistrict] State within which its contacts would be sufficient to

subject it to personal jurisdiction if that district were a separate State.” 28 U.S.C. § 1391(d). If

this District were a separate state, there would be no basis to extend personal jurisdiction over

SEA—which is organized under New York law and has its principal place of business in New

Jersey—with respect to the claim of any Petitioner who does not reside in this District. See Bristol-

Myers Squibb Co. v. Superior Ct., 582 U.S. 255, 265 (2017).

3.       Petitioners’ Threadbare Declarations Lack Basic Information And
         Cannot Provide Sufficient Evidence Of An Arbitration Agreement

         Petitioners have not carried their evidentiary burden to show that each of them has a valid

arbitration agreement with Samsung. (See MTD Opp. at 13-15.) The legal authorities on which

Petitioners rely confirm that “‘[a] district court must promptly compel arbitration once it is

satisfied that the parties agreed to arbitrate.’” (MTD Opp. at 13 (quoting Tinder v. Pinkerton

Sec., 305 F.3d 728, 735 (7th Cir. 2002) (emphasis added).) That showing has not been made here.

         First, it is self-evident that no such showing has been made for the 149 remaining

Petitioners who declined to submit any declaration and thus refused to offer any evidence that they

entered into an arbitration agreement with SEA. The Petition must be dismissed as to them.

         Second, as to the other 658 remaining Petitioners, Petitioners’ Counsel have submitted

declarations which, they assert, “evidence[] their assent to Samsung’s arbitration agreement.”



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(Klinger Decl. ¶ 5.) But these declarations fall far short of the evidentiary showing that is required

here:

        (i)   The declarations do not contain any information specific to a Petitioner that was not
              already included in Exhibit A to the Petition. With de minimis exceptions, they are
              also word-for-word identical except for the Petitioner’s name and the location where
              each Petitioner states the smartphone was used (almost without exception, the city
              and state listed as the Petitioner’s residence on Exhibit A to the Petition).10
    (ii)      The declarations do not provide fundamental information that should be immediately
              available to each and every Petitioner who actually has purchased a Samsung
              smartphone: When did each Petitioner acquire that smartphone? Which model?11
              What is the phone’s Samsung serial number or IMEI number? Petitioners with no
              claim against Samsung because they did not purchase a Samsung smartphone could
              not answer those questions. Presumably that’s why Petitioners’ Counsel did not ask.
    (iii)     The declarations are replete with other deficiencies. There are 12 duplicates,12 11
              declarations are unsigned or have dots or lines in place of a signature,13 and three
              declarations confuse the declarant’s name and their location (see, e.g., Klinger Decl.,
              Ex. X, at PDF p. 53 ¶ 5 (declaration of Amanda Hamilton, stating that “[w]ithin the
              preceding five years, I regularly used my Smartphone while physically present in the
              City of Amanda Hamilton, Illinois.”).)14

    (iv)      Bizarrely (and further highlighting their lack of diligence), Petitioners’ Counsel have
              also filed three declarations on behalf of individuals who are not even Petitioners here
              and for whom they did not file demands for arbitration against SEA. One of these




    10
        For example, Petitioner Adam Theobald was identified in Exhibit A as residing in the
“City” of “Batavia” in the “State” of “IL.” (Pet., Ex. A, at 22.) The declaration submitted on his
behalf just repackages this same location information: “Within the preceding five years, I regularly
used my Smartphone while physically present in Batavia, Illinois.” (Klinger Decl., Ex. X at PDF
p. 26.) Only nine declarations list a city different than that listed in Exhibit A to the Petition or the
amended list of Petitioners contained in Exhibit W to Mr. Klinger’s Declaration (id. at PDF pp.
65, 105, 191, 299, 359, 450, 451, 544, 548, 556, 567).
    11
       The declarants only state that they have “used a Samsung Galaxy smartphone model S8 or
higher,” except for four which refer to “a Samsung Galaxy smartphone (‘Smartphone’) model S7
or higher.” (Klinger Decl., Ex. X at PDF pp. 22, 577, 624, 646.)
    12
       See Klinger Decl., Ex. X at PDF pp. 29 and 30, 130 and 136, 149 and 151, 223 and 224,
244 and 245, 304 and 305, 312 and 313, 387 and 388, 450 and 451, 471 and 472, 572 and 573,
615 and 616.
    13
          See id. at PDF pp. 18, 63, 85, 88, 126, 136, 151, 240, 344, 443, 444.
    14
          See also id. at PDF pp. 431, 472.


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           three individuals is also a Wallrich petitioner.15 Those declarations serve no purpose
           here and should be stricken.

        Courts considering such mechanically generated declarations have held that “[t]he

boilerplate nature of the declarations undermines their credibility.” Citizens for Quality Educ. San

Diego v. Barrera, 333 F. Supp. 3d 1003, 1042 n.28 (S.D. Cal. 2018); accord Orantes-Hernandez

v. Gonzales, 504 F. Supp. 2d 825, 847-48 (C.D. Cal. 2007) (finding a set of declarations not

“entirely credible” because “[m]ost of these declarations are written in nearly identical boilerplate

language”). Critically, there are no particularized facts in these declarations that could suggest the

existence of an arbitration agreement between these Petitioners and Samsung, and such facts are

required here. For example, as a federal court held in Abernathy v. DoorDash, Inc., No. 3:19-cv-

07545-WHA, 2019 WL 13402416 (N.D. Cal. Nov. 26, 2019):

        Before the Court can grant injunctive relief compelling arbitration as to any
        petitioner, there must be a sworn declaration from that petitioner at least setting
        forth his or her name and the identifying information he or she used to register [and]
        the approximate dates of service, and at least referencing in an ascertainable way
        the specific arbitration agreement he or she clicked through.

Id. at *1; accord Gilbert v. I.C. Sys., Inc., No. 19-cv-04988, 2021 WL 292852, at *7 (N.D. Ill. Jan.

28, 2021) (insufficient evidence where movant’s declaration was “devoid of any facts regarding

how or when [the opposing party] received the Terms and Conditions”); see also Johnson v. Uber

Techs., Inc., No. 16-cv-5468, 2017 WL 1155384, at *2 (N.D. Ill. Mar. 13, 2017) (insufficient

evidence where movant’s declaration failed to establish the process required to assent to an

arbitration agreement). No such “identifying information” has been provided here—no date of

purchase, no phone model, and no serial or IMEI number.

        When the court in DoorDash was ultimately provided with declarations, it declined to



   15
        See id. at PDF pp. 127, 155, 232. Audrey Bryant (see id. at PDF p. 127), while not a
Petitioner here, is a petitioner in Wallrich. See Wallrich at ECF No. 1, Pet. Ex. A at PDF p. 480.


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compel arbitration as to petitioners who had “submitted mere ‘witness statements’ in which they

stated, among other things, their residential address, the amount of time they ha[d] worked for

DoorDash, and that they did not recall opting out of arbitration.” Abernathy v. DoorDash, Inc.,

438 F. Supp. 3d 1062, 1065 (N.D. Cal. 2020) (cited in MTCA at 13-14). The declarations provided

here fall far short of that level of detail. They fall even further short of the declarations deemed

sufficient to compel arbitration in that same case, where the declarations indicated each declarant’s

address and email address and indicated when each declarant had made his or her first and last

deliveries for the DoorDash delivery service. Id.; see also In re Evanston Nw. Corp. Antitrust

Litig., No. 07-cv-04446, 2015 WL 13735423, at *3 (N.D. Ill. Sept. 4, 2015) (declining to compel

arbitration as to entities for which the movant had “fail[ed] to offer needed information,” including

an explanation as to how the entities were bound to the contract at issue).

        Petitioners’ other contentions on this issue are likewise without merit:

        (i)    Petitioners argue that Samsung cannot contend on a motion to dismiss that

Petitioners have failed to establish that each of them has a valid arbitration agreement with

Samsung. (MTD Opp. at 11-13.) Samsung properly made this argument in its motion to dismiss

because it is seeking dismissal on the grounds that Petitioners have failed to sufficiently plead facts

showing that an arbitration agreement exists between each Petitioner and Samsung.16 Not only

does the Petition fail to plead facts specific to any Petitioner, but Petitioners’ Counsel have now

withdrawn the Petition for hundreds of the original Petitioners, failed to obtain declarations from



   16
        See Franlogic Scout Dev., LLC v. Scott Holdings, Inc., No. CV 16-5042, 2017 WL
2982396, at *4-5 (E.D. Pa. July 12, 2017) (granting motion to dismiss petition and stating that
“[b]efore compelling arbitration, a court must determine: (1) whether a valid agreement to arbitrate
exists, and (2) whether the particular dispute falls within the scope of that agreement”); Acheron
Portfolio Tr. v. Mukamal as Tr. of Mut. Benefits Keep Pol’y Tr., No. 20-CV-25025, 2021 WL
2079734, at *8, 11 (S.D. Fla. Apr. 6, 2021), report and recommendation adopted, No. 1:20-CV-
25025, 2021 WL 2072428 (S.D. Fla. May 24, 2021).


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many of the remainder, and provided facially deficient declarations from the rest. While the Court

can “accept[] as true all well-pleaded facts alleged” (MTD Opp. at 12 (emphasis added)), it is now

clear that the allegations that each Petitioner in this action entered into an arbitration agreement

with Samsung were not “well-pleaded” and cannot be credited on their face.

        (ii)    That Samsung has submitted highly detailed declarations in support of arbitration

in other cases involving other parties (MTD Opp. at 14) plainly does not serve as “evidence” that

each of these Petitioners entered into an arbitration agreement with Samsung. Here, Petitioners

have failed to provide the “identifying information” that Samsung has provided in other cases.

        (iii)   Petitioners’ speculation that “Samsung already knows the identity of everyone who

purchased one of its phones” (MTD Opp. at 16) is both unsupported by any competent evidence

and false. Most Samsung smartphones are sold through wireless carriers (e.g., Verizon), retailers

(e.g., Best Buy), and their respective agents, not by Samsung itself, and Samsung is not provided

with the identity of all those purchasers. (Petitioners make the same factually false assumption as

a premise for the BIPA claims that they propose to assert in arbitration: Petitioners assert that

Samsung somehow must have access to photographic analysis that is conducted on each of their

individual smartphones, but that is not correct, and Samsung has provided Petitioners’ Counsel

with unrebutted evidence that it does not.17)

        (iv)    Petitioners contend that in the event that this Petition is not dismissed, no discovery

is required as to whether each Petitioner agreed to arbitrate because “Samsung has presented no

evidence that creates any issue of material fact as to whether Petitioners are purchasers of Samsung



   17
       Petitioners also assert that they have engaged an “expert” who has explained that
“Samsung’s smart phones do exactly what the BIPA prohibits.” (MTD Opp. at 3 n.1.) This expert
and his or her putative findings have not been disclosed to Samsung or the Court. Petitioners’
Counsel have previously engaged BIPA experts that ultimately acknowledged they could not
confirm counsel’s flawed theory of liability under BIPA. (See MTCA Opp. at 8.)


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smart phones.” (MTD Opp. at 16.) But it is Petitioners’ burden to demonstrate that each of them

entered into an arbitration agreement with Samsung, and they have failed to do so. It is well settled

that “[t]he party seeking to compel arbitration has the burden of establishing an agreement to

arbitrate.” Gilbert, 2021 WL 292852, at *2.

4.       The Petition Violates The Arbitration Agreement’s Collective Action Waiver

         This single Petition brought collectively on behalf of 1,028 Petitioners violates the

Arbitration Agreement’s collective action waiver. (MTD at 12-14.) Petitioners seek to excuse

their violation of that provision, asserting that if they are not bound by the Arbitration Agreement

then they also cannot be bound by its collective action waiver. (MTD Opp. at 4-5; see also id. at

14-15.) But Petitioners have it backwards: if Petitioners are entitled to bring a collective action

because they are not parties to the Arbitration Agreement containing the collective action waiver

provision, they obviously cannot compel Samsung to arbitrate under that Arbitration Agreement.

         Petitioners further contend that while the dispute they seek to arbitrate falls within the

Arbitration Agreement’s definition of “DISPUTE,” and is thus subject to arbitration, this Petition

raises a different dispute not included within the Agreement’s definition of “DISPUTE” and thus

the Arbitration Agreement’s collective action waiver provision does not apply. (MTD Opp. at 5-

6.) They are wrong. The collective action waiver provision applies to “ALL DISPUTES . . .

RELATING IN ANY WAY TO OR ARISING IN ANY WAY FROM . . . THE SALE,

CONDITION OR PERFORMANCE OF THE PRODUCT” (see MTD Opp. at 5), and the dispute

presented by this Petition (to the extent it is not entirely fictitious) clearly would not have occurred

but for the “SALE” and/or “PERFORMANCE” of the Samsung smartphone. Courts routinely

recognize the broad nature of this language.           See, e.g., USA Gymnastics v. Liberty Ins.

Underwriters, Inc., 27 F.4th 499, 522 (7th Cir. 2022) (“The plain meaning of ‘based upon, arising

from, or in any way related to’ includes nearly any type of connection . . . That includes a wide


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array of logical connections.”).18 Here, Petitioners seek to compel Samsung to arbitrate claims

that rest on the alleged performance of the device itself. This close connection of the Petition to

the performance of the device is more than sufficient to fall within the ambit of both the Arbitration

Agreement and the collective action waiver provision.

        Petitioners also incorrectly assert that the question of whether the Petition violates the

Arbitration Agreement’s collective action waiver has been delegated to the arbitrator. (MTD Opp.

at 7-8.) But the question of whether a collective action waiver bars a party from proceeding with

a judicial action is for this Court to decide. This is not an “arbitrability question” like that raised

in the authorities cited by Petitioners (MTD Opp. at 7): Petitioners have filed a Petition before this

Court and this Court must decide whether that Petition is properly before it.

        Petitioners’ citations to two Postmates cases likewise miss the mark. Those cases held that

it was for the arbitrator to decide whether by filing mass identical demands for arbitration with the

AAA, petitioners were “attempting to proceed with the arbitration on . . . a defacto classwide or

class action basis in violation of the Class Action Waiver.” Adams v. Postmates, Inc., 414 F. Supp.

3d 1246, 1252 (N.D. Cal. 2019); see also Postmates Inc. v. 10,356 Individuals, No. 20-cv-2783

PSG, 2021 WL 540155 at *6 (C.D. Cal. Jan. 19, 2021). But, here, the question is whether the

Petition filed with the Court—not the demands for arbitration filed with the AAA—violates the


   18
        Accord RLI Ins. Co. v. Conseco, Inc., 543 F.3d 384, 391 (7th Cir. 2008) (release of claims
“based on, arising out of, or in any way related to” claims brought in a prior action “is broad,” and
noting that “ ‘related’ has a common understanding and meaning and ‘covers a very broad range
of connections’”) (quoting Gregory v. Home Ins. Co., 876 F.2d 602, 606 (7th Cir. 1989)); Twin
City Fire Ins. Co. v. Vonachen Servs., Inc., 567 F. Supp. 3d 979, 1001 (C.D. Ill. 2021) (expression
“‘in any way related to any actual or alleged’ is incredibly broad, suggesting only a minimal
connection is necessary”) (citation omitted).
        New York law, which governs the Arbitration Agreement, takes a similarly broad view of
the language: “[T]here are fewer, if any, more broadening clauses than ‘in any way’ or words like
‘relating.’” People v. Esposito, 144 Misc. 2d 919, 931 (Sup. Ct. 1989), aff’d, 160 A.D.2d 378
(1990) (citation omitted).


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collective action waiver provision. That is an issue for this Court to decide.19

5.        The Petition Should Be Dismissed For The Additional
          Reasons Set Forth In Samsung’s Opposition To The MTCA

          The Petition should also be dismissed for the reasons set forth in the MTCA Opposition:

          (i)     SEA did not refuse to arbitrate. The AAA closed the arbitrations when the parties

agreed to mediate and advised Petitioners that they could re-file their demands for arbitration if

mediation was not successful. They have not done so. There is therefore no basis for Petitioners

to compel arbitration against SEA under Section 4 of the FAA.

          (ii)    The AAA has the sole discretion to administer arbitrations under its rules. This

Court does not have the authority to overrule the AAA’s application of its own Rules in closing

the arbitrations. (MTCA Opp. at 31-32.) See also Greco v. Uber Techs., Inc., No. 4:20-cv-02698-

YGR, 2020 WL 5628966, at *3-4 (N.D. Cal. Sept. 3, 2020) (“declin[ing]” request “to overturn the

AAA rules and force the case back to arbitration,” noting that “[t]he AAA is in a far better position

to know its own rules and to exercise discretion according to those rules”). Petitioners did not

even address this argument.

          (iii)   The FAA does not empower courts to order a party to pay arbitral fees. While the

arbitrations are closed and no fees are owing, the Court respectfully does not have the authority to

order the payment of arbitration fees. (MTCA Opp. at 27-31.) The authorities cited by Petitioners

in response are inapposite. (MTCA Reply at 13-15.) They again cite Allemeier and Tillman,




     19
        Several individuals who are Petitioners here recently contended in another action in which
they are defendants that they could not be sued en masse because that violated a collective action
provision of their arbitration agreement with plaintiff. See Epson v. Adams, Case No. 30-2023-
01313431 (Cal. Sup. Ct. Cal., Mar. 10, 2023), Memorandum Of Points and Authorities In Support
Of Defendants’ Motion For Class Certification, at 15-16 (Cal. Sup. Ct. June 7, 2023). Those
Petitioners are represented in that action by Labaton, petitioners’ counsel in Wallrich (and there is
also significant overlap between the Epson defendants and Wallrich petitioners).


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ignoring that those cases are readily distinguishable. (MTCA Opp. at 31.) They also cite the

wholly inapposite case of Brandifino v. CryptoMetrics, Inc., 27 Misc. 3d 513, 522 (N.Y. Sup. Ct.

2010), where the court conditionally granted a petition to stay arbitration against a respondent that

had failed to pay arbitration fees unless the respondent paid within 20 days. Petitioners cite two

Ninth Circuit cases which held, respectively, that a party cannot compel arbitration if it refuses to

pay arbitration fees, see United Comput. Sys., Inc. v. AT&T Corp., 298 F.3d 756, 765 (9th Cir.

2002), and that a party waives its right to arbitrate a particular dispute if it refuses to pay fees, see

Brown v. Dillard’s, Inc., 430 F.3d 1004, 1010 (9th Cir. 2005). Neither set of facts is applicable

here.

         (iv)   Petitioners have adequate remedies at law. Petitioners are not entitled to equitable

relief because they have adequate remedies at law: under the AAA rules, they could advance the

fees or waive their right to arbitrate and proceed in court. (MTCA Opp. at 32-33.) Petitioners

assert that that cost would be “disproportionate” (MTCA Reply at 17) but do not deny that

advancement of fees is available to them.20 They ignore entirely their option to proceed in court.

         (v)    Judicial estoppel is inapplicable. Petitioners erroneously assert that Samsung has

argued “against enforceability” of the Arbitration Agreement here. (MTCA Reply at 18.) Not so.

Samsung has not contradicted positions it has taken in any other cases, nor has it refused to arbitrate

or argued that the Arbitration Agreement is unenforceable. (MTCA Opp. at 33-34.)

                                           CONCLUSION

         For all of the foregoing reasons, the Petition should be dismissed with prejudice.




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        It was Petitioners’ Counsel—rather than Petitioners—that paid Petitioners’ initial filing
fees (since refunded by the AAA). The publicly available copy of the legal services agreement
that Petitioners’ Counsel have used in this action also indicates that Petitioners’ Counsel have
committed to pay all legal fees and costs on behalf of Petitioners. (MTCA Opp., Ex. 19 § 6.)


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Dated: August 28, 2023                   Respectfully submitted,

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